       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Emily Katherine Delaune
        v. Commonwealth of Virginia
       Record No. 0328-22-1
        Opinion rendered by Judge Lorish
          on January 10, 2023

    2. Aleskey Gennadiyev Yemel’yanov
        v. Commonwealth of Virginia
       Record No. 0450-22-2
        Opinion rendered by Judge Beales
          on January 10, 2023

    3. CB &amp; PB Enterprises, LLC, d/b/a Maaco Collision Repair and Auto Painting
        and Hanson Butler
        v. Bryant McCants
        Record No. 0046-22-2
        Opinion rendered by Judge O’Brien
         on January 17, 2023
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Ashley Esposito
   v. Virginia State Police
   Record No. 0090-21-3
   Opinion rendered by Judge Humphreys
     on January 11, 2022
   Refused (220098)

2. Dwayne Allen Ray, Jr.
   v. Commonwealth of Virginia
   Record No. 0808-20-3
   Opinion rendered by Judge AtLee
     on February 1, 2022
   Refused (220131)

3. Lucas Edward Ritchie
   v. Commonwealth of Virginia
   Record No. 0204-21-3
   Opinion rendered by Judge Fulton
     on February 8, 2022
    Refused (220257)

4. Jason Park
    v. Commonwealth of Virginia
   Record No. 0592-21-4
    Opinion rendered by Chief Judge Decker
     on May 3, 2022
    Refused (220322)

5. Dustin Keith Conley
   v. Commonwealth of Virginia
   Record No. 0682-21-2
   Opinion rendered by Judge Fulton
     on May 3, 2022
    Refused (220381)

6. Jeffery Dale Howard
    v. Commonwealth of Virginia
   Record No. 0495-21-4
    Opinion rendered by Judge Ortiz
      on May 10, 2022
    Refused (220412)
7. Michael Angelo Street
   v. Commonwealth of Virginia
   Record No. 1355-21-1
   Opinion rendered by Chief Judge Decker
    on August 2, 2022
   Refused (220491)

8. Travor Lamont Lucas
   v. Commonwealth of Virginia
   Record No. 0997-21-1
   Opinion rendered by Judge Fulton
     on August 9, 2022
    Refused (220568)
